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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

KYLEE PETERSON                       §
                                     §
VS.                                  §   CIVIL ACTION NO. 4:11-CV-404-Y
                                     §
WELLS FARGO BANK, N.A., et al.       §

         ORDER GRANTING MOTION FOR SUMMARY JUDGMENT, DENYING
      MOTIONS TO STRIKE, & DENYING MOTION TO DISQUALIFY EXPERT

       Before the Court is the motion for summary judgment (doc. 83)

of defendants Wells Fargo Bank, N.A., and Wells Fargo Home Mortgage

(collectively, “Wells Fargo”).       Wells Fargo also seeks to strike

certain exhibits included in plaintiff’s summary-judgment evidence

(doc. 116).     After consideration of the motions, responses, and

replies, the Court GRANTS the motion for summary judgment and DENIES

the motion to strike. Given the Court’s resolution of Wells Fargo’s

motion for summary judgment, Plaintiff’s pending motion to disqualify

Wells Fargo’s expert witness (doc. 75) is DENIED as moot.           For the

same reason, Wells Fargo’s motion to strike a portion of the appendix

in support of Plaintiff’s motion to disqualify (doc. 95) and its motion

to strike Plaintiff’s expert witnesses (doc. 126) are also DENIED

as moot.

                             I.   BACKGROUND

       In 2002, plaintiff Kylee Peterson obtained a mortgage loan from

Wells Fargo in the amount of $145,713. The terms of the loan provided

for an interest rate of 6% and monthly principal and interest payments

of $1,043.93.    As of April 30, 2007, Peterson was in default on her

payment obligations under the loan.         Consequently, in May 2007,
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Peterson entered into a loan-modification agreement with Wells Fargo.

Under the agreement, Peterson’s interest rate remained 6%, but the

unpaid principal balance of $128,871.96 was increased to $135,872.12.

     By October 2007, Peterson had defaulted on her payment obligations

under the loan modification. Wells Fargo sent Peterson another loan-

modification agreement on September 2, 2008.         Under the agreement,

Peterson’s interest rate would remain 6%, but the unpaid principal

balance of $131,901.24 would be increased $143,524.00. Peterson was

required to return the signed loan-modification offer within five

days of the September 2, 2008 transmittal letter. According to Wells

Fargo, it did not receive the signed offer from Peterson until

September 29, 2008, which was beyond the five-day deadline.

Consequently, Wells Fargo contends that the 2008 loan modification

never went into effect, meaning that the principal balance of the

loan of $131,901.24 remained unchanged.

     Because the 2008 loan modification never took effect, Peterson

was still in default under the 2007 loan modification. Accordingly,

Wells Fargo sent a notification to Peterson on October 12, 2008, that

the loan was in default and to bring the loan current, Peterson would

have to pay $16,955.19 within thirty days.          Wells Fargo also sent

Peterson a special-forbearance agreement on October 17, 1008.            The

terms of the special forbearance called for Peterson to make three

payments of $1,777.91 and a balloon payment of $17,359.15. However,

if Peterson was approved for a loan modification, the final balloon


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payment would be added back to the outstanding loan balance.

     Peterson made the three initial payments under the special

forbearance. She also entered into another loan-modification agreement

on January 20, 2009. Accordingly, the balloon payment was added to

the current unpaid principal balance of $131,440.61, for a new balance

of $145,093.03.

     On July 23, 2010, Peterson called Wells Fargo and asked to be

sent the documents related to the 2009 loan modification.           A Wells

Fargo representative faxed Peterson executed copies of the loan

modification agreement and a Truth in Lending Act (“TILA”) disclosure

form. According to Peterson, the TILA disclosure contained a forged

signature.   In fact, she contends that she had never even seen the

TILA disclosure before July 23.

     On June 14, 2011, Peterson filed suit against Wells Fargo,

asserting various claims based on the alleged forgery of the TILA

disclosure. Wells Fargo moved for dismissal. This Court denied Wells

Fargo’s motion to dismiss, but required Peterson to plead a more

definite statement (doc. 24).

     Peterson amended her complaint twice.          In her second amended

complaint, Peterson alleged that a Wells Fargo employee forged her

signature on the previously mentioned TILA disclosure. Peterson also

added claims for other alleged forgeries revealed during discovery.

In particular, Peterson claims that a Wells Fargo employee forged

an October 20, 2008 special-forbearance agreement and a September


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5, 2008 loan-modification agreement.        Based on these allegations,

Peterson asserted claims against Wells Fargo for forgery, negligence,

and fraud. Wells Fargo moved to dismiss Peterson’s amended complaint

for failure to state a claim, which this Court denied (doc. 64).

        Wells Fargo filed a motion for summary judgment. In its motion,

Wells Fargo contends that Peterson has failed to establish that the

alleged forgeries injured her.      Wells Fargo also filed a motion to

strike the appendix Peterson filed in support of her response to Wells

Fargo’s motion, claiming that it contains numerous objectionable

exhibits.

                           II.   LEGAL STANDARD

        When the record establishes “that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as

a matter of law,” summary judgment is appropriate. Fed.R.Civ.P. 56(a).

“[A dispute] is ‘genuine’ if it is real and substantial, as opposed

to merely formal, pretended, or a sham.”            Bazan v. Hidalgo Cnty.,

246 F.3d 481, 489 (5th Cir. 2001) (citations omitted).             A fact is

“material” if it “might affect the outcome of the suit under governing

law.”     Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        To demonstrate that a particular fact is, or cannot be, genuinely

in dispute, a party must either (1) cite particular parts of materials

on the record (e.g., depositions, documents, and affidavits), (2)

show that the materials cited by the adverse party do not establish

the presence or absence of a genuine dispute, or (3) show that the


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adverse party cannot produce admissible evidence to support the fact.

Fed.R.Civ.P. 56(c)(1).     Although the Court “need consider only the

cited materials, . . . it may consider other materials in the record.”

Fed.R.Civ.P. 56(c)(3).

     In evaluating whether summary judgment is appropriate, the Court

“views the evidence in the light most favorable to the nonmovant,

drawing all reasonable inferences in the nonmovant’s favor.”

Sanders–Burns v. City of Plano, 594 F.3d 366, 380 (5th Cir. 2010)

(citation and internal quotation marks omitted). “[I]f no reasonable

juror could find for the non-movant,” summary judgment should be

granted. Byers v. Dallas Morning News, Inc., 209 F.3d 419, 424 (5th

Cir. 2000) (citations omitted).

                             III. DISCUSSION

     Wells Fargo contends that Peterson has failed to show injury

resulting from the alleged forgeries and that such failure is fatal

to each cause of action Peterson asserts. Peterson’s claimed damages

consist of: (1) damages to her credit resulting from Wells Fargo’s

submission of negative payment history to credit agencies regarding

a loan she contends was void due to the forgeries, (2) damages relating

to an alleged unauthorized increase of the principal balance of her

loan following modification, and (3) damages for mental anguish

suffered as a result of the alleged forgeries.

     Peterson’s claim of credit injury is based on her contention

that the alleged forgeries of certain documents related to her loan


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modification rendered the original loan void. Therefore, according

to Peterson, Wells Fargo damaged her credit by submitting negative

payment reports on a void loan.

     Contrary to Peterson’s contention, the alleged forgeries of the

TILA disclosure, the 2008 loan-modification agreement, and the special

forbearance would not render her original loan with Wells Fargo void.

Instead, as Wells Fargo points out, the loan simply reverts back to

the last valid agreement not touched by the forgery.         See Dennis v.

Galbreth, 228 S.W.2d 579, 581 (Tex. Civ. App.—1950) (stating that

“the well settled rule is . . . that fraud . . . annuls all contracts

infected with it, and when found to exist, relates back to the

inception of the contracts to which it pertains”); see also Int’l

Life Ins. Co. v. Herbert, 334 S.W.2d 525, 529 (Tex. Civ. App.—Waco

1960, writ ref’d n.r.e) (explaining that “[f]raud vitiates every

transaction tainted by it; it annuls every transaction which is

infected by it).    Peterson has not alleged fraud, forgery, or the

like with respect to the origination of her loan with Wells Fargo

or with respect to the 2007 loan modification. Thus, Peterson’s claim

that Wells Fargo damaged her credit reputation by reporting on a void

loan is without merit.

     Peterson also claims that she was injured by the unauthorized

increase in the balance of her loan.          Peterson’s claimed injury

originates from the allegedly forged TILA disclosure, which Peterson

claims was never provided to her. Peterson contends that she would


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never have entered into the 2009 loan-modification agreement if she

had known that the principal balance of her loan would be increased

from $131,440.61 to $145,093.03. However, as Wells Fargo points out,

the increase in the principal balance was disclosed to Peterson in

the loan-modification agreement. Defs.’ App. 71. Peterson does not

dispute the authenticity of her signature on that agreement and she

admitted in her deposition that she agreed to its terms. Defs.’ App.

134-35. Because Peterson was aware that the 2009 loan modification

would increase the principal balance of her loan, she has failed to

demonstrate how Wells Fargo’s alleged forgery of the TILA disclosure

damaged her.

     Finally, Peterson claims that upon learning of the alleged forgery

of the TILA disclosure, she suffered a “mental breakdown” and was

rushed to the hospital with symptoms consistent with a heart attack

or a stroke.     Peterson’s medical records reveal a visit to the

emergency room on June 24, 2010, where she was diagnosed with mild

dehydration and dizziness. Defs.’ App. 169. However, Peterson claims

that she did not discover the alleged TILA forgery until July 23,

2010, nearly one month after her visit to the emergency room. Peterson

cannot recover damages for mental anguish where the alleged injuries

occurred before she discovered the alleged forgery of the TILA

disclosure.

     In response, Peterson argues that the discovery of the alleged

forgery of the TILA disclosure exacerbated her existing mental anguish,


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which she claims was caused by the manner in which Wells Fargo handled

her account. However, as Wells Fargo points out, Peterson has never

plead that the discovery of the allegedly forged document exacerbated

her existing mental anguish. Instead, her amended complaint states:

“Once [Peterson] discovered [the] forgery [of the TILA disclosure],

[she] started feeling pains in her arms and chest, [she] felt like

she was having a heart attack or stroke.”           Pl.’s 2d Am. Compl. P.

6. A claim which is not raised in the complaint but, rather, is raised

only in response to a motion for summary judgment is not properly

before the court.     Fisher v. Metropolitan Life Ins. Co., 895 F.2d

1073, 1078 (5th Cir. 1990).

     Peterson also claims that the stress and anxiety she suffered

over the alleged forgery of the TILA disclosure caused her to grind

her teeth, resulting in nine cracked teeth.               In support of this

allegation, Peterson attaches a letter from her dentist, explaining

that Peterson had presented with “worn and sensitive teeth” and that

she displayed obvious signs of teeth grinding. Pl.’s 2d Am. Compl.

P. Ex. E. Although Peterson’s dentist states in the letter that teeth

grinding is “most commonly related to stress and anxiety,” she does

not conclude or even speculate that Peterson’s teeth grinding is

related to Wells Fargo’s alleged conduct.           Id.

     Peterson has failed to show that Wells Fargo’s alleged forgeries

caused her mental anguish.     Peterson’s alleged mental breakdown and

visit to the emergency room pre-dated the discovery of the alleged


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TILA forgery. Further, Peterson has failed to produce any evidence

that her teeth grinding was caused by Wells Fargo’s conduct.            Even

if she had, Peterson’s condition and the related damage to her teeth

would not entitle her to damages for mental anguish under Texas law

Under Texas law, damages for mental anguish are generally not

recoverable in negligence cases unless the plaintiff also suffered

a serious bodily injury.      City of Tyler v. Likes, 962 S.W.2d 489,

495-96 (Tex. 1997).    The damage to Peterson’s teeth from her teeth

grinding—which is the only bodily injury alleged to have occurred

after she discovered the alleged TILA forgery—does not constitute

a serious bodily injury.1     See Dekelaita v. BP Amoco Chem. Co., No.

G-07-0131, 2008 WL 2964376, *14 (S.D. Tex. July 30, 2008) (applying

Texas law and concluding that plaintiff’s TMJ and sleeplessness were

“not so severe as to rise to the level of ‘serious’ bodily injury

necessary for mental-anguish damages for negligence”); see also Hous.

Elec. Co. v. Dorsett, 194 S.W.2d 546, 546, 548 (Tex. 1946) (affirming

award of damages for mental anguish to plaintiff who suffered from

“extreme nervousness, severe headaches, lapse of memory, and brain

deterioration” after she was almost hit by a bus).

                             IV.   CONCLUSION

     Because Peterson has not shown recoverable damages necessary



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       Peterson has not alleged any damages for mental anguish
related to the discovery of the other allegedly forged
documents—the 2008 special forbearance and the 2008 loan-
modification agreement.

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to support her claims of forgery, fraud, or negligence, the Court

concludes that Wells Fargo’s motion for summary judgment should be

and hereby is GRANTED. Furthermore, because Peterson’s objectionable

summary-judgment evidence, even if considered, would not affect the

outcome of the Court’s ruling on the motion for summary judgment,

Wells Fargo’s objections are OVERRULED and its motion to strike is

DENIED.    Finally, Peterson has filed a motion to disqualify Wells

Fargo’s handwriting expert, Linda James. James’s testimony related

to the authenticity of Peterson’s signatures on the loan documents

at issue in this lawsuit.       The Court has not considered James’s

testimony in deciding Wells Fargo’s motion and, therefore, Peterson’s

motion to disqualify James is DENIED as moot. Wells Fargo’s motion

to strike portions of the Peterson’s appendix in support of her motion

to disqualify James is also DENIED as moot. Finally, Wells Fargo’s

motion to strike Peterson’s designated expert witnesses is DENIED

as moot.

     SIGNED November 25, 2013.


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                                         TERRY R. MEANS
                                         UNITED STATES DISTRICT JUDGE




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